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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRI CT OF COLUⅣ IBIA

UNITED STATES OF AⅣ IERICA                         Criminal No。 19‑

                V。                                 UNDER SEAL
ⅣIARLON ⅣIEADE                                     18 UoS.C.§ 371(ConSpiracy);
                                                   18 UoSoC.§ 1341(Mail Fraud);
                Defendant.                         18 UoSoC。   §1957(Monetav Transactions);
                                                   18 UoSoC。   §2(Aiding and Abetting and
                                                   Causing an Actto be Done)。

                                                   Crilninal Forfeiture:
                                                   18 UoSoC.§ 981(a)(1)(C),
                                                   28 UoSoC.§ 2461(c),and
                                                   21 UoS.C。   §853(p)。

                                      INFORMATION
The United States informs the Court:
                                             Background

At all times material to this Information:

    1.   The defendant MARLON MEADE was an investor purchasing real estate properties in the

District of Columbia, and at times operated under the name "South Mountain Development LLC."

    2. Dominion Financial        Services,   LLC ("Dominion") and Boardwalk 2001, LLC,
("Boardwalk") were private lenders (collectively referred to as "the lenders") in the business of

loaning money to real estate investors who primarily bought distressed properties in order to

rehabilitate, and then resell, the properties at a profit. In order to assess the risk of the loan, the

lenders required the borrower, or the one guaranteeing the repayment of the loan, to provide     proof

of assets, in the form of filed IRS Forms 1040 Tax Returns and/or bank statements of accounts

showing sufficient available cash to fund the settlement and rehabilitation costs.      If the lenders
were assured that the loan would be repaid and there were sufficient funds for settlement and
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renovation, then they loaned the money for the real estate purchase. Typically, the lenders charged

a higher rate of interest than mortgage companies or banks, and the loans were intended to be

shorter in duration than typical home-owner mortgages.

    3.   If the lender approved the loan, then the borrower proceeded toward settlement, which was

a process handled   by a title and escrow company ("settlement company"). The lender provided

the settlement company with instructions on how to secure its interest in the loan and transferred

the loan proceeds to the settlement company for disbursements consistent with the sales contract.

At settlement, the borrower   signed the Settlement Statement (accounting of funds transferred for

the sale of the property) and Deed of Trust (promise to pay the loan and public notice that the

property was encumbered with a mortgage loan), among other documents.

    4.   After closing, the settlement company submitted the Deed (transferring the ownership of

the property), Deed of Trust, and any other filings to the District of Columbia's Recorder of Deeds

(if the property were in the District of Columbia), with instructions that the Recorder of   Deeds

officially record the documents in the public records and then send to the lender or settlement

company the stamped recorded documents as proof that the documents were filed as required by

the lender.

    5.   Settlement Company 1 was a settlement company located in the District of Columbia.

    6.   Settlement Company 2 was a settlement company located in Maryland.

    7.   Person 1 was a loan broker earning money by coordinating loans for real estate investors

from private lenders.

    8.   Person 2 was a Certified Public Accountant and an income tax preparer.

   9.    Person 3 was a settlement agent at Settlement Company   1.
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                                                 COUNT ONE
                                                 (Conspiracy)

    10. Paragraphs        I through   9 are hereby realleged as   if fully   set forth herein.

                                                The Conspiracy

    11. From at least        in or about October 2014, and continuing thereafter through at least in or

about June 2015, in the District of Columbia and elsewhere, defendant MARLON MEADE did

unlawfully, willfully, and knowingly conspire, combine, confederate, and agree with persons both

known and unknown to the government to commit offenses against the United States, that is:

             a.      mail fraud, by engaging in a scheme to defraud and to obtain money and property
             by means of materially false and fraudulent pretenses, representations, and promises and
             for the purpose of executing and attempting to execute the scheme to defraud, knowingly
             caused to be delivered mail matter, in violation of 18 U.S.C. $ 1341;

             b.       monetary transactions, by engaging in transactions, by, through, and to a financial
             institutions, affecting interstate commerce using criminally derived property of a value
             greater than $ 10,000, that was derived from a specified unlawful activity, that is, wire fraud
             and mail fraud (18 U.S.C. $$ 1343 and 1341) in violation of 18 U.S.C. $ 1957.

                                             Goal of the Conspiracv

    10.      It   was a goal of the conspiracy that the conspirators would use materially false and

fraudulent documents and statements in order to obtain real estate property loans which were not

repaid in full, and take lender proceeds and the purchased real estate to enrich themselves.

                                               Manner and Means

It was apart of the conspiracy that:

    1   1.   Defendant MARLON MEADE and others submitted inflated Personal Financial

Statements, altered bank account statements, and false IRS Forms 1040 Tax Returns to private

lenders in an attempt to trick the lenders into loaning in excess of $5.6 million in loans for the

purchase of real estate properties in the District of Columbia. Defendant MARLON
                                                                                 MEADE and
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others falsely represented the sales price to obtain excess lender funds in order to recycle the

lender's own money as the buyer's down-payment and              to siphon off funds for their    own

enrichment. The conspirators and others generally failed to repay the loans and the properties fell

into foreclosure for a loss to the lenders.

    12. Using false statements and forged documents, defendant      MARLON MEADE and others

obtained lender funding, and attempted to obtain lender funding, as listed below:

  Property             Date           Amount of      Primary       Borrower(s)      Title and
  Address               (in or        Loan           Lender                         Escrow
                       about)                                      Guarantor(s)     ComDany
  1017 17th St,NE      October        $612,000       Dominion      B.A.             Settlement
  Washington,DC        2014                                                         Company 1

  1541 9tn st,NW       Dcccrllbcr     $925,000       Dominion      MEADE            Settlement
  Washington,DC        2014                                                         Company 1

  rc41grh st, Nw       」une 2015      $1,050,000     Boardwalk     J.C.             Settlement
  Washington, DC                                                                    Company 1
  (second sale)

  2005 and 2009 M      Fcbruary       $1,440,000     Dominion      MEADE            Attcmpt
  St,NE                2015                                        (bOrrOヽ VCr)
  Washington,DC                                                    P.D.
                                                                   (guaralltOr)
  2019 111 St,NE       February       $445,000       Boardwalk     MEADE            Settlement
  Washington,DC        2015                                        (bOrrOWer)       Company 2
                                                                   C.T.
                                                                  (guarantOr)
  5539 Bass Pl, SE     April20l5      $80,000        Dominion     」.C.              AttcFnpt
  Washinston. DC
  608 Girard St, NE    October        $1,160,000     Dominion     MEADE             Attcmpt
  Washington, DC       2014                                       (bOrrOヽ VCr)
                                                                  C.T.
                                                                  (CO― bOrrOwer)


                                              Overt Acts

In furtherance of the conspiracy and to effect the object thereof, defendant MARLON MEADE,

along with other members of the conspiracy, committed the following overt acts, among others,
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on or about the dates listed below in the District of Columbia and elsewhere:

                                              l0l7 lTth Street, NE
    13. On October 14,2014, Person 1, on behalf of borrower B.A., emailed Dominion requesting

a loan of $612,000 for the purchase      of 1017 17th Street, NE, Washington, D.C. ("1017           lTth Street,

NE).

    14. On October    14,2014, in response to Dominion's request for filed IRS Forms 1040 Tax

Returns, bank statements, and paystubs, Person 1 emailed Dominion                     a Personal Financial

Statement, under B.A.'s name, falsely representing that B.A. maintained                  a cash balance of

$455,000 in Navy Federal Credit Union and $340,000 in M&T Bank, and an altered Navy Federal

Credit Union statement falsely showing a total account balance of $462,000.20, when in truth

B.A.'s balance for the same time period      at   Navy Federal Credit Union was $5.20, and B.A. did not

maintain any account at M&T Bank.

    15.   On October 15, 2014, Person 1 emailed to Dominion IRS Forms 1040 Tax Returns

prepared by Person 2 falsely representing B.A.'s income.

    16. On October 20,2014,      in the District of Columbia, Settlement Company             I and Person 3
settled the transaction   for lO17   lTth Street, NE, after receiving the loan proceeds of $612,000       from

Dominion on behalf of borrower B.A., and sent $6,120 to Person         1 as a   "broker's fee,"   $ 1 14,391   .04

to defendant MARLON MEADE or his creditors, and used another portion of the loan proceeds

to fund the buyer's down-payment.

    17. Between October 22,2014, and October 28,2014, in the           District of Columbia, Settlement

Company 1 caused an executed Deed of Trust to be filed at the District of Columbia's Recorder

of Deeds, with the instructions that after the recordation of the deed, the Recorder of Deeds should

mail the stamped documents back to Settlement Company            1.
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    18. On October 28,2014, inthe District of Columbia and elsewhere, the District of Columbia's

Recorder    of   Deeds mailed the file-stamped copy        of the Deed of Trust, referenced above, to

Settlement Company      1.


                                    608 Girard Street, NE (Attempt)

    19.   On October 28, 2074, defendant MARLON MEADE emailed Person 1 M&T Bank

statements which falsely showed him (MEADE) with an account balance of over $630,000, when

in truth defendant MARLON MEADE held no bank account with M&T Bank. That same day,

Person 1 sent these false        M&T Bank     statements   to Dominion along with a loan request for

defendant MARLON MEADE to borrow $1,160,000 for the purchase of 608 Girard Street, NE,

Washington, D.C. ("608 Girard Street, NE").

    20. On October 28,2014, Person 1 emailed Dominion copies of IRS Forms 1040 Tax Returns

prepared by Person 2, falsely representing defendant MARLON             MEADE's income.

    2l.On November 3,2014, Person 1 emailed Dominion explaining that the "Girard deal"

included a co-borrower, identified here as "C.T."

    22. OnNovember 4,2074, defendant MARLON MEADE emailed to Person                    1a   Navy Federal

Credit Union statement for C.T. falsely showing a total account balance of $286,010.13, when in

truth C.T. held no accounts at Navy Federal Credit Union. Later that same day, defendant

MARLON MEADE emailed to Person               1 another version   of the same account statement under the

email subject line of "USE THIS ONE," and then another email attaching a third version with the

subject line "Here you go    -   This is the real final." Person I then emailed Dominion with the third

version of the account statement.

                                           1541 9th Street,   NW

   23. While the 608 Girard Street, NE, loan request was pending, defendant MARLON MEADE
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emailed Dominion seeking a loan, to be guaranteed by C.T. for the purchase              of 1541 9th Street,

NW, Washington, D.C. ("1541            9th Street,   NW").

    24. On December 75,2014, in the District of Columbia, Settlement Company 1 and Person 3

settled the transaction     for l54l   grh   Street, NW, after receiving the loan proceeds of $925,000 from

Dominion, and sent $20,500 to Person 1 as a "broker's fee," $53,473.52 to defendant MARLON

MEADE or his creditors, and used another portion of the loan proceeds to fund the buyer's down-

payment.

    25.Between December 15, 2074, and December 31,2014, in the District                      of Columbia,

Settlement Company 1 caused an executed Deed of Trust to be filed at the District of Columbia's

Recorder of Deeds, with the instructions that after the recordation of the deed, the Recorder           of

Deeds should mail the stamped documents back to Settlement Company                1.


    26.On December 37,2014, in the District of Columbia and elsewhere, the District of

Columbia's Recorder of Deeds mailed the file-stamped copy of the Deed, referenced above, to

Settlement Company          1.


                                       1541 9th Street,   NW (second sale)

    27.On March 27, 2015, without renovating the property, defendant MARLON MEADE

agreed to sell 7541   9th   Street, NW, to an individual identified here as J.C., through J.C.'s company

for $200,000 more than he (defendant MARLON MEADE) paid to buy the property three months

earlier.

    28. On Apr1121,2015, Person 1 emailed an agent of Boardwalk seeking a loan for J.C., falsely

representing that J.C. held "over $500K in the bank" and made "$300K [$300,000] last year."

    29. OnMay 20,2015, defendant MARLON MEADE sent Person 1 an email with the subject

listed as "statements for 1941 9th Street;" the attachments consisted on account statements from
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Navy Federal Credit Union falsely showing that J.C. a total account balance of approximately

$500,000, when in truth J.C.'s balance at Navy Federal Credit Union ranged between $20 and

$700.

    30. On June 11,2015, in the District of Columbia, Settlement Company 1 and Person 3 settled

the transaction for 1541 9th Street, NW, after receiving the loan proceeds of $1,050,000 from

Boardwalk on behalf      of borrower J.C., through his company, paying off the previous loan
defendant MARLON MEADE obtained from Dominion.

    31. On June 15, 2015, Settlement Company     I   sent $134,011.48 of the loan proceeds to a bank

account controlled by Person 1 , $83,169.62 to defendant MARLON MEADE or his creditors, and

used another portion of the loan proceeds to fund the buyer's down-payment.

   32. Between June      ll,   2015, and June 16, 2015,   in the District of Columbia,    Settlement

Company 1 caused an executed Deed of Trust to be filed at the District of Columbia's Recorder

of Deeds, with the instructions that after the recordation of the deed, the Recorder of Deeds should

mail the stamped documents to the lender, Boardwalk

   33. On June 16, 2015, in the District of Columbia and elsewhere, the District of Columbia's

Recorder of Deeds mailed the file-stamped copy of the Deed of Trust, referenced above, to the

lender, Boardwalk.

                                          2019 M Street, NE

   34.In December 2014, defendant MARLON MEADE sought a loan from Boardwalk to

purchase 2019   M    Street, NE, washington, D.C. ("2019      M   Street,   NE") with C.T. to be the
guarantor on the loan.

   35. On December 29,2014, in response to Boardwalk agent's request for defendant MARON

MEADE's and C.T.'s bank statements and tax information, defendant MARLON MEADE
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emailed the agent M&T Bank statements which falsely showed him with an account balance in

excess of $136,000, and the next day emails Navy Federal Credit Union statements which falsely

showed C.T. with an account balance of $385,382.13, when in truth defendantMARLON MEADE

held no account with M&T Bank and C.T. held no account with Navy Federal Credit Union.

      36. On February 6,2015, Settlement Company 2 settled the transaction for 2019 M Street, NE,

after receiving the loan proceeds of $445,000 from Boardwalk, with defendant MARLON

MEADE paying $10,750 to Person I as a "broker's fee."

      37. On February         6, 2015, defendant MARLON MEADE caused Settlement Company 2 to

transfer $157,416.58 from the loan proceeds to a bank account managed by him.

     38. Between February 6,2015, and February 12,2015, in the District of Columbia, Settlement

Company 2 caused an executed Deed of Trust to be filed at the District of Columbia's Recorder

of Deeds, with the instructions that after the recordation of the deed, the Recorder of Deeds should

mail the stamped documents back to the lender, Boardwalk.

     39. On February 72, 2015,           in the District of   Columbia and elsewhere, the District of

Columbia's Recorder of Deeds mailed the file-stamped copy of the Deed, referenced above, to the

lender, Boardwalk.

                                    2005 and 2009 M Street, NE (Attempt)

     40. On February 18, 2015, Person 1 emailed Dominion requesting a loan in order for defendant

MARLON MEADE and an individual identified here as P.D. to purchase 2005 and 2009 M Street,

NE, Washington, DC ("2005 12009 M Street, NE") for $ I .6 million. Person 1 attached to the email

an altered Navy Federal Credit Union statement falsely showing that P.D. held an account balance

in   excess   of $604,000, when in truth P.D.'s balance for the same time period at Navy      Federal

Credit Union was     $   1   8. Person I also attached 2013 and2014 IRS Form 1040 Tax Retums prepared
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by Person 2, falsely representing P.D.'s rncome.

                       (Conspiracy to Commit Wire Fraud, Mail Fraud, and
                               Monetary Transactions, in violation of
                  Title 18, United States Code, S$ 371, 1343,1341, and 1957).

                                   FORFEITURE ALLEGATION

    41 .   Upon conviction of any of the offenses alleged in Count One of this Information, the

defendant MARLON MEADE shall forfeit to the United States any property,real or personal,

which constitutes or is derived from proceeds traceable to these offenses, pursuant to 18 U.S.C.         $


981(aX1)(C) and 28 U.S.C. 52461(c). The United States will also seek a forfeiture money

judgment against the defendant equal to the value of any property, real or personal, which

constitutes or is derived from proceeds traceable to these offenses.

    42.If    any of the property described above as being subject to forfeiture, as a result        of

any act or omission of the defendant:

                  a.     cannot be located upon the exercise ofdue diligence;

                  b.     has been transferred or sold to, or deposited   with,   a   third party;

                  c.     has been placed beyond the     jurisdiction of the Court;

                  d.     has been substantially diminished in value; or

                  e.     has been commingled     with other property that cannot be divided without

                         difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the

value of the property described above, pursuant to      2l U.S.C. $ 853(p).
                  (Criminal Forfeiture, pursuant to Title 18, United States Code,
                Sections 981(a)(1)(C), Title 28, United States Code, Section 2461(c),
                         and Title 21, United States Code, Section 853(p)).



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                                 JESSIE K.LIU

                                 United States Attomey
                                 for the District of ColШ   mbia




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